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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

 Case No.       2:20-cv-10905-WDK-JC                             Date      April 30, 2021
 Title          G and G Closed Circuit Events, LLC v. William Medina Ortiz et al




 Present        The Honorable William D. Keller, United States District Judge
                Patricia Gomez                                           None
                 Deputy Clerk                                        Court Reporter

       Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                     None                                                  None
 Proceedings:          (In Chambers) ORDER TO SHOW CAUSE

       In light of the Default by Clerk entered April 28, 2021, the Court, on its own
motion, ORDERS plaintiff to show cause in writing no later than May 28, 2021 why
this action should not be dismissed for lack of prosecution. As an alternative to a written
response by plaintiff, the Court will consider the filing of a Request for Entry of
Default Judgment (Fed. R. Civ. P. 55(b)) on or before that date.

      It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the
action diligently. If necessary, plaintiff must also pursue Rule 55 remedies promptly
upon the default of any defendant.

      No oral argument on this matter will be heard unless ordered by the Court. The
Order will stand submitted upon the filing of a responsive pleading or motion on or
before the date upon which a response by plaintiff is due.

         IT IS SO ORDERED.
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                                                    Initials of Preparer              pg




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